    Case 18-51956-grs       Doc 4    Filed 10/30/18 Entered 10/30/18 03:15:03               Desc Chapter
                                     7 order to debtor Page 1 of 2
                      UNITED STATES BANKRUPTCY COURT
                                     Eastern District of Kentucky
                                         Lexington Division
                             Mailing Address: P.O. Box 1111, Lexington, KY 40588−1111

In re Kenneth Brian Wirth
                                                       Case No.
     305 Lindenhurst Drive                                                18−51956−grs
     Apt. 4106
     Lexington, KY 40509−1348
aka/dba: Kenneth B. Wirth                              Chapter:           7

                                                        Trustee:
Debtor(s)                                                                 James D. Lyon
                                                                          100 E. Vine #404
                                                                          Lexington, KY 40507
                                                                          (859) 252−4148

                                CHAPTER 7 ORDER TO DEBTOR
     The above−named debtor shall within 14 days from the date of filing of the petition turn over
to the trustee, whose name and address appear above, the following documents:
1. Copies of all books, records of account, bank books, bank statements and cancelled checks for
the 6 months preceding bankruptcy (the last bank statement must show the amount on deposit on
the date of bankruptcy);
2. The original or a certified copy of the deed or contract under which the debtor holds title to or
any interest in real estate, and certified copies of all recorded mortgages, liens, or encumbrances
upon said real estate (these documents may be obtained from the office of the county court clerk
of the county in which the real estate is located);
3. Title papers to any motor vehicles, mobile homes, trailers or boats (if original papers have been
lost, duplicates must be obtained from the office of the county court clerk of the county in which
the vehicles are registered);
4. Certificates of stock, bonds, keys to any safety deposit boxes, and contracts of life or burial
insurance;
5. Copies of the debtor's last state and federal income tax returns;
6. Contracts or title papers pertaining to any property of the debtor; and

7. Copies of all notes, security agreements, loan disclosure statements and other documents
relating to loan transactions to which the debtor is a party;
8. Copies of all payment advices (such as pay stubs) or other evidence of income received within
60 days before the date of the filing of the petition. Copies shall be sent to the trustee, whose
address is above, and emailed to the U.S. Trustee at ustp.region08.lx.paystubs@usdoj.gov.
9. Debtor(s) must present a valid photo identification at the Meeting of Creditors.
Failure to timely comply with this order will result in the filing of a motion to dismiss the within
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case.
Counsel for the debtor is responsible for seeing that the debtor complies with this order.




Except for surrender of the aforementioned documents to the trustee, the debtor is restrained and
enjoined from transferring, abandoning, releasing to creditors, or in any way disposing of property
of the estate until further order of the court.




DATED: 10/30/18
                                                  By the court −

                                                  /s/ Gregory R. Schaaf
                                                  Gregory R. Schaaf
                                                  U.S. Bankruptcy Judge

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